            Case 1:21-cr-00208-APM Document 69 Filed 04/01/22 Page 1 of 4




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
            v.                            )                   Case No. 21-cr-208 (APM)
                                          )
THOMAS WEBSTER,                           )
                                          )
      Defendant.                          )
_________________________________________ )

                             THIRD AMENDED PRETRIAL ORDER

       Trial is set to commence in this matter on April 25, 2022, at 9:30 a.m., in Courtroom 10.

The following deadlines shall govern pre-trial proceedings:

       1.       The parties shall file any motion pursuant to Federal Rule of Criminal

                Procedure 12(b)(3)(A)–(D) on or before February 9, 2022; oppositions shall be

                filed on or before February 23, 2022; and replies shall be filed on or before March

                2, 2022.     The court will schedule a hearing on Rule 12 pretrial motions, if

                necessary.

       2.       The United States shall make any required expert disclosures pursuant to

                Rule 16(a)(1)(G) by February 28, 2022; any reciprocal expert disclosure by

                Defendant pursuant to Rule 16(b)(1)(C) shall be made by March 14, 2022.

       3.       The United States shall notify Defendant of its intention to introduce any Rule

                404(b) evidence not already disclosed on or before March 7, 2022.

       4.       Except where otherwise noted in this Pretrial Order, motions in limine shall be filed

                on or before March 14, 2022; oppositions shall be filed on or before March 21,

                2022; and replies shall be filed on or before March 28, 2022. If the United States

                wishes to file a motion in limine with respect to any defense expert, it may do so
     Case 1:21-cr-00208-APM Document 69 Filed 04/01/22 Page 2 of 4




         by filing a motion by March 21, 2022; any opposition to such motion shall be filed

         by March 28, 2022.

5.       Defendant shall satisfy his reciprocal discovery obligations, if any, under

         Rule 16(b) (except as to experts, as noted above) by March 21, 2022. The court

         will consider any motion in limine with respect to reciprocal discovery after such

         discovery is received. Any such motion shall be filed by March 25, 2022; any

         opposition to such motion shall be filed by March 28, 2022.

6.       On or before April 8, 2022, counsel shall file a Joint Pretrial Statement that contains

         the following:

                a. A neutral statement of the case. The parties shall include a neutral

                    statement of the case for the court to read to seated jurors at the start of

                    preliminary instructions.

                b. Proposed voir dire questions. The parties shall submit a proposed list

                    of voir dire questions to pose to prospective jurors.

                c. Proposed jury instructions.       The parties shall submit a list of all

                    standard jury instructions from the “Red Book” (Criminal Jury

                    Instructions for D.C. (Barbara A. Bergman ed., May 2016 ed.)) that they

                    wish to include in the final instructions. The parties need not submit

                    the full text of any standard jury instruction, but should provide the full

                    text of (1) any modified standard jury instruction, with the proposed

                    modification(s) redlined, and (2) any non-standard jury instruction they

                    wish to have the court include.          As to each non-standard jury

                    instruction, the sponsoring party should cite legal authority for the

                                           2
     Case 1:21-cr-00208-APM Document 69 Filed 04/01/22 Page 3 of 4




                    proposed instruction, and the non-sponsoring party should state any

                    objection to the instruction, including any proposed modifications.

                d. List of witnesses. The parties shall identify the witnesses that each side

                    anticipates it may call in its case-in-chief. Only upon leave of court

                    and a showing of good cause will a party be permitted to withhold a

                    witness’ identity.

                e. Exhibit lists. The parties shall include an exhibit list that each side

                    anticipates it may introduce in its case-in-chief. The parties need not

                    list any exhibit that might be used for purposes of impeachment. The

                    parties should confer with Courtroom Deputy Jean Claude about the

                    format of the exhibit list. The parties should not provide a copy of the

                    exhibits to the court, but must exchange pre-marked exhibits. The

                    parties must be prepared to raise objections to any proposed exhibit at

                    the Pretrial Conference. The objecting party shall bring three copies of

                    any contested exhibit to the Pretrial Conference.

                f. Stipulations. The parties shall submit a draft of all stipulations.

                g. Proposed verdict form. The parties shall include a draft verdict form,

                    including any special interrogatories. The draft verdict form should

                    include a date and signature line for the jury foreperson.

7.       In addition to filing the Joint Pretrial Statement on April 8, 2022, the parties shall

         transmit, in Word format, an electronic copy of (a) any proposed modification to a

         standard jury instruction, (b) any non-standard jury instruction, and (c) the verdict




                                           3
           Case 1:21-cr-00208-APM Document 69 Filed 04/01/22 Page 4 of 4




               form by email to the Courtroom Deputy Jean Claude Douyon at Jean-

               Claude_Douyon@dcd.uscourts.gov

      8.       The United States should endeavor to make grand jury and Jencks Act disclosures

               as to each witness it expects to call in its case-in-chief on or before March 28,

               2022. Any Brady material not already disclosed also must be disclosed by this

               date.

      9.       Counsel shall appear on April 21, 2022, at 2:00 p.m., in Courtroom 10 for a Pretrial

               Conference.




                                                            Amit P. Mehta
Date: April 1, 2022                                  United States District Court Judge




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